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                                     #:36768



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      Attorneys for Plaintiff YUGA LABS INC.
 10

 11                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 12

 13   YUGA LABS INC.,                                Case No.: CV-22-04355-JFW-JEM
 14                                                  POST-JUDGMENT DISCOVERY
                 Plaintiff/Judgment Creditor
                                                     MATTER
 15
      v.
                                                     NOTICE OF MOTION TO COMPEL
 16
      RYDER RIPPS, JEREMY CAHEN
 17
                 Defendants/Judgment Debtors.
 18
 19

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 21         TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
 22         PLEASE TAKE NOTICE THAT on November 18, 2024, at 1:30p.m., or as
 23   soon thereafter as the matter may be heard in the United States District Court, Central
 24   District of California, located at Roybal Federal Building, 255 East Temple Street,
 25   Los Angeles, California 90012, Plaintiffs Yuga Labs, Inc., through its undersigned
 26   counsel, will, and hereby do, move to compel third-party Dor, Crisostomo, Dor &
 27   Dow Accountancy Corporation (“DCDD”) to produce documents responsive to
 28                                              0
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  1   Yuga Labs, Inc.’s Subpoena in its post-judgment efforts. This Motion is made
  2   following a conference with counsel for DCDD pursuant to L.R. 37-1 which took
  3   place on September 30, 2024.
  4         This Motion will be based upon this Notice of Motion and Motion, the
  5   accompanying Joint Stipulation under Local Rule 37-2, the pleadings on file in this
  6   action, and on such other written or oral argument or evidence
  7
       Dated: October 28, 2024                 FENNEMORE CRAIG, P.C.
  8
                                               By: /s/ MaryJo E. Smart Pinocchio
  9

 10
                                               Kevin Abbot (Ca. Bar No. 281312)
                                               John D. Tennert, III (Pro Hac Vice)
 11                                            MaryJo E. Smart Pinocchio (Ca. Bar
                                               No. 332879)
 12
                                               Attorneys for Yuga Labs, Inc.
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  1                                    CERTIFICATE OF SERVICE
  2          I certify that I am an employee of FENNEMORE CRAIG, P.C., and that on this date,
  3   pursuant to FRCP 5(b), I am serving a true and correct copy of the NOTICE OF MOTION TO
  4   COMPEL on the parties set forth below by:
  5
             __XX___ Certified Mail, Return Receipt Requested
  6   addressed as follows:
  7    Jeremy Cahen                           Ryder Ripps
       1004 Ave Ashford                       31609 2nd Street
  8    San Juan, PR 00907-1118                Acton, CA 93510-1903

  9

 10          ______           Via email, per the parties’ agreement

 11          ______           Placing an original or true copy thereof in a sealed envelope and causing the
                              same to be personally Hand Delivered
 12
             ______           Federal Express (or other overnight delivery)
 13
             __XX__           E-service effected by CM/ECF
 14
      WILMER CUTLER PICKERING HALE AND DORR LLP
      Attorneys for Ryder Ripps and Jeremy Cahen
 15

 16
      addressed as follows:
 17
             DATED: October 28, 2024.
 18
                                                           /s/ Susan Whitehouse
 19                                                  Employee of FENNEMORE CRAIG, P.C.
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